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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                     CASE NO. 1:19-cv-21551

  EUCLID FISH COMPANY.,

           Plaintiff,

  vs.

  Mowi ASA (fka Marine Harvest ASA), Marine
  Harvest USA, LLC, Marine Harvest Canada,
  Inc., Ducktrap River of Maine LLC, Grieg
  Seafood ASA, Grieg Seafood BC Ltd., Bremnes
  Seashore AS, Ocean Quality AS, Ocean Quality
  North America Inc., Ocean Quality USA Inc.,
  Ocean Quality Premium Brands, Inc., SalMar
  ASA, Leroy Seafood Group ASA, Leroy Seafood
  USA Inc., and Scottish Sea Farms Ltd.,

        Defendant.
  ___________________________________/

              PLAINTIFF’S MOTION FOR APPROVAL OF PLAN FOR
        ALTERNATIVE SERVICE OF PROCESS ON NORWEGIAN DEFENDANTS
                AND INCORPORATED MEMORANDUM OF LAW

           Plaintiff Euclid Fish Company, pursuant to Federal Rule of Civil Procedure 4(e) and

  4(f)(3), requests entry of an Order authorizing alternative service of process on six Norwegian

  defendants, Mowi ASA (“Mowi”), Grieg Seafood ASA (“Grieg”), Bremnes Seashore AS

  (“Bremnes”), Ocean Quality AS (“OQ”), SalMar ASA (“SalMar”) and Leroy Seafood Group ASA

  (“Leroy”) (collectively, the “Norwegian Defendants”) pursuant to the “Service Plan” discussed

  below.

           I.      Introduction

           This civil antitrust action arises from the alleged unlawful coordination of the prices

  charged to direct purchasers of farm-raised salmon and salmon products derived therefrom (such
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  as salmon fillets or smoked salmon) that were sold directly by multiple defendants. (DE # 1 at 1).

  According to the European Commission, Defendants are “participat[ing in] or have participated in

  anti-competitive agreements and/or concerted practices related to different ways of price

  coordination in order to sustain and possibly increase the prices for Norwegian salmon.” (Id. at

  2). The complaint names 15 defendants; five U.S. companies, three Canadian companies, one

  United Kingdom company, and the six Norwegian Defendants.1 (Id. at 3-9). As an antitrust action,

  this case falls under the purview of Section 12 of the Clayton Act, which authorizes worldwide

  service. 15 U.S.C. § 22.

         II.     Domestic Service on Norwegian Entities is Warranted and Permissible

         This motion addresses service of process on the Norwegian Defendants. Norway is a

  signatory to The Hague Convention on Service Abroad of Judicial and Extrajudicial Documents

  in Civil or Commercial Matters (the “Hague Convention”). Norway, however, has objected to the

  more liberal Section 10 of the Hague Convention, under which section Plaintiff intends to serve

  the Canadian and United Kingdom defendants via direct service on those defendants in Canada

  and the United Kingdom. However, service under the Hague Convention in Norway, which must

  proceed through Norway’s Central Authority, will take too long for the speedy and inexpensive

  determination of this case. The Service Plan will fulfill the mandate of FRCP 1 “to secure the just,

  speedy, and inexpensive determination of every action and proceeding.”            See, e.g. Societe

  Nationale Industrielle Aerospatiale v. United States Dist. Court for S. Dist., 482 U.S. 522, 542-3

  (1987) (“A rule of first resort [to the Hague Evidence Convention] in all cases would therefore be




  1
   Plaintiff has already served four of the U.S. defendants; Marine Harvest USA, LLC (Florida),
  Ocean Quality Premium Brands, Inc. (Delaware), Ocean Quality USA, Inc. (Delaware), and Mowi
  Ducktrap, LLC (Maine). The only U.S. defendant not yet served is Leroy Seafood USA, Inc.
  (North Carolina), which is anticipated to be served in coming days.
                                                   2
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  inconsistent with the overriding interest in the ‘just, speedy, and inexpensive determination’ of

  litigation in our courts”) (citing FRCP 1); Marks v. Alfa Grp., 615 F. Supp. 2d 375, 379 (E.D. Pa.

  2009) (authorizing alternative service under FRCP 4(f)(3) and citing the policy of FRCP 1).

            Service in Norway via the Hague Convention will result in extensive and unnecessary delay

  and expense. First, it will require translation of the summonses, cover sheet and complaint. The

  complaint alone is 44 pages and the cost of translation will exceed $1,000. See Declaration of

  Daniel Tropin attached as Ex. A.

            Once translated, the documents will have to be transmitted to Norway’s Central Authority,

  which will then serve them. This will take months. In Norway, “[t]he average time from receipt

  at the Central Authority to execution of the request varies between 3-5 months.”                    See

  https://www.hcch.net/en/states/authorities/details3/?aid=246, Tropin Decl. Ex. 12. The Hague

  Law       Blog    gives   an    even    longer   estimate    of   five   to    six   months.        See

  https://www.haguelawblog.com/2017/04/serve-process-norway/, Tropin Decl. Ex. 13.                   The

  federal rules of civil procedure give courts the discretion in situations precisely like this to approve

  reasonable alternatives to the costly, time consuming and potentially fruitless procedure of

  attempting service through the Hague Convention. See Cincinnati Ins. Co. v. Belkin Corp., 2008

  WL 60402, at *1 (S.D. Ala. Jan. 2, 2008) (“service of process . . . pursuant to the Hague Convention

  will take between four and six months”).

            This extended wait is unnecessary in this case because the Norwegian Defendants are all

  major companies with strong U.S. connections, including wholly-owned subsidiaries in several

  cases with business emails listed on their websites. If approved, Plaintiff plans to serve each of

  the Norwegian Defendants except SalMar2 in two separate ways to satisfy the Constitutional notice



  2
      SalMar does not have an identifiable U.S. subsidiary or office. Nonetheless, it holds itself out as
                                                      3
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  requirement. This Service Plan will also not violate any strictures of international law, the federal

  rules, or any other applicable law.

            III.    The Service Plan is Permissible Under the Federal Rules of Procedure and
                    Courts Have Authorized Such Plans in Similar Circumstances

            Service of process outside the United States is governed by FRCP 4(f), which provides that

  such service may be made by means that include international agreements such as the Hague

  Convention or, under FRCP 4(f)(3), “by other means not prohibited by international agreement, as

  the court orders.” See Brookshire Bros., Ltd. v. Chiquita Brands Inter., Inc., No. 05-CIV-21962,

  2007 U.S. Dist. LEXIS 39495, 2007 WL 1577771, at * 2 (S.D. Fla. May 31, 2007) (citations

  omitted) (finding that Rule 4(f)(3) includes no qualifiers or limitations indicating its availability

  only after attempting service of process by other means). “Rule 4(f)(3), Fed. R. Civ. P., allows a

  district court to order an alternate method for service to be effected upon foreign defendants,

  provided that it is not prohibited by international agreement, and is reasonably calculated to give

  notice to the defendants.” Abercrombie & Fitch Trading Co. v. 2cheapbuy.com, No. 14-60250-

  CIV-ROSENBAUM, 2014 U.S. Dist. LEXIS 188877, at *3-4 (S.D. Fla. Mar. 5, 2014).

            According to the Ninth Circuit, the situs of many antitrust cases involving foreign

  defendants:

            As obvious from its plain language, service under Rule 4(f)(3) must be (1) directed
            by the court; and (2) not prohibited by international agreement. No other
            limitations are evident from the text. In fact, as long as court-directed and not
            prohibited by an international agreement, service of process ordered under Rule
            4(f)(3) may be accomplished in contravention of the laws of the foreign country.

  Rio Properties, Inc. v. Rio Intern. Interlink, 284 F.3d 1007, 1014 (9th Cir. 2002).3


  selling salmon in the United States. Therefore, service upon it via email at its designated email
  address, salmar@salmar.no, is sufficient notice. See https://www.salmar.no/en/contact-us/, Tropin
  Decl. Ex. 8.
  3
      “Federal Rule of Civil Procedure 4(h)(2) authorizes service of process on a foreign business entity
                                                      4
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         The Hague Convention Outline prepared by the Hague Conference on Private International

  Law explains that the Hague Convention is an optional or “non-mandatory” method of effecting

  service on foreign defendants. See Tropin Decl., Ex. 11. In fact, the international agreements set

  forth in the Hague Convention only come into play if the local law of the forum where the civil

  action is pending requires that service of process to a foreign defendant physically take place

  within a foreign country. Id. (“the law of the forum State determines whether or not a document

  has to be transmitted abroad for service in the other State.”). Florida’s rules of civil procedure do

  not have any such requirement. Accordingly, the Hague Convention does not prohibit service of

  the Norwegian Defendants through other means. See LDK Solar Securities Litg., 2008 WL

  2415186, *3 (N.D. Cal. June 12, 2008) (“Plaintiffs are therefore correct that nothing in the

  Convention bars the requested means of service.”); In re Cathode Ray Tube (CRT) Antitrust Litig.,

  2008 WL 4104341 (N.D. Cal. Sept. 3, 2008) (“The Hague Convention therefore does not prohibit

  service on Defendants under Rule 4(f)(3).”).

         Courts have rejected the argument that plaintiffs must use the other methods of overseas

  service authorized by FRCP 4(f), such as the Hague Convention, before asking a court to authorize

  service by “other means.”      These subsections are not mutually exclusive and “there is no

  indication” they “are meant to be read as a hierarchy.” TracFone Wireless, Inc. v. Bitton, 278

  F.R.D. 687, 692 (S.D. Fla. 2012); see also Atlas One Fin. Group, LLC v. Alarcon, 12-CV-23400,

  2014 WL 12571403, at *4 (S.D. Fla. Feb. 28, 2014) (FRCP 4(f)(3) “is not considered as a last

  resort or as extraordinary relief.”); Rio Props., 284 F.3d at 1015. In Rio Props., the court

  explained:

         We find no support for [the defendant’s] position. No such requirement is found in
         the Rule’s text, implied by its structure, or even hinted at in the advisory committee


  in the manner prescribed by Rule 4(f) for individuals.” Rio Properties, 284 F.3d at 1014.
                                                   5
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         notes. By all indications, court-directed service under Rule 4(f)(3) is as favored as
         service available under Rule 4(f)(1) or Rule 4(f)(2). Indeed, Rule 4(f)(3) is one of
         three separately numbered subsections in Rule 4(f), and each subsection is
         separated from the one previous merely by the simple conjunction “or.” Rule
         4(f)(3) is not subsumed within or in any way dominated by Rule 4(f)’s other
         subsections; it stands independently, on equal footing. Moreover, no language in
         Rules 4(f)(1) or 4(f)(2) indicates their primacy, and certainly Rule 4(f)(3) includes
         no qualifiers or limitations which indicate its availability only after attempting
         service of process by other means.

  Id. (footnote and citations omitted); see also Bank Julius Baer & Co. Ltd. v. Wikileaks, 2008 WL

  413737, at *2 (N.D.Cal. Feb. 13, 2008) (“a plaintiff is not first required to attempt service under

  Rule 4(f)(1) or Rule 4(f)(2)” before seeking court approval to serve under rule 4(f)(3)).

         Any “method of service crafted by the district court [pursuant to FRCP 4(f)(3)] must be

  ‘reasonably calculated, under all the circumstances, to apprise interested parties of the pendency

  of the action and afford them an opportunity to present their objections.’” Rio Props., 284 F.3d at

  1016-17 (quoting Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)); see

  also Nanya Technology Corp. v. Fujitsu Ltd., 2007 WL 269087, *5 (D. Guam Jan. 25, 2007) (“[w]e

  should not lose sight of what service of process is about, it is about giving a party notice of the

  pendency of an action and the opportunity to respond”); Seiko Epson Corp. v. Glory South

  Software Manufacturing, Inc., 2007 WL 219944, at *2 (D. Or. Jan. 24, 2007) (noting that the

  federal rule “stresses actual notice, rather than strict formalism”).

           Service under FRCP 4(f)(3) also “must comport with constitutional notions of due

  process.” U.S. Commodity Futures Trading Commc’n v. Aliaga, 272 F.R.D. 617, 620 (S.D. Fla.

  2011). It must provide “notice reasonably calculated, under all the circumstances, to apprise

  interested parties of the pendency of the action and afford them an opportunity to present their

  objections.” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). While notice

  must only be “reasonably calculated to give notice to the defendants,” Plaintiff’s Service Plan for



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  the Norwegian Defendants goes well beyond that bar, consisting of two parts: service on email

  addresses created by the Norwegian Defendants themselves, as well as service on U.S. subsidiary

  offices (except SalMar, which has no U.S. office or subsidiary).

                 A.      Email Service is Permissible and Practical
         Email service is permissible and practical and is not violative of international law. Stat

  Med. Devices, Inc. v. HTL-Strefa, Inc., No. 15-20590-CIV 2015 U.S. Dist. LEXIS 122000, at *6-

  12 (S.D. Fla. Sep. 14, 2015) is instructive as to why email service is permissible here. In that case,

  the plaintiff sought permission under rule 4(f)(3) for alternative service where the defendant was

  located in a jurisdiction (Poland) that was a signatory to the Hague Convention, but objected to

  Section 10. The plaintiff argued that alternative service was warranted on the ground that

  “properly serving the Foreign Defendant [] could require substantial additional time if international

  agreements and protocol are strictly followed... These methods ... would serve to expedite the

  service of process on the Foreign Defendant ... so that this case may proceed on the merits without

  sacrificing adequate notice or due process.” Id. at *6-7. The district court agreed, found that email

  service to a defendant in Poland was not prohibited by the international agreement and accepted

  plaintiff’s argument that it is widely used within the Eleventh Circuit and comports with due

  process. Id. at *7 (citing Lexmark Int'l, Inc. v. Ink Techs Printer Supplies, LLC, 295 F.R.D. 259,

  261 (S.D. Ohio 2013)) (citations omitted);see also e.g. Chanel, Inc. v. PVBAG.com, No. 13-23896-

  CIV-ALTONAGA/Simonton, 2013 U.S. Dist. LEXIS 196159, at *5 (S.D. Fla. Nov. 6, 2013); Fru

  Veg Mktg. v. Vegfruitworld Corp., 896 F. Supp. 2d 1175, 1182-83 (S.D. Fla. 2012); TracFone

  Wireless, 278 F.R.D. at 694; U.S. Commodity Futures Trading Comm'n v. Aliaga, 272 F.R.D. 617,

  621 (S.D. Fla. 2011); Prewitt Enter., Inc. v. Organization of Petroleum Exporting Countries, 353




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  F.3d 916, 921, 927 (11th Cir. 2003).4

          Each of the Norwegian Defendants is a major international business that conducts

  substantial business by email and maintains well-kept webpages in the English language. See e.g.

  Leroy    -   post@leroyseafood.com        (https://www.leroyseafood.com/en/contact/our-offices/);

  Bremnes - bremnes@seashore.no (https://www.seashore.no/en/); OQ - jo@oceanquality.com

  (https://oceanquality.com/contact/); Mowi - norway@mowi.com (https://mowi.com/contact/);

  Grieg - info@griegseafood.com (https://www.griegseafood.no/en/); SalMar - salmar@salmar.no

  (https://www.salmar.no/en/contact-us/).

                 B.     Subsidiary/Local Office Service is Permissible and Plaintiff Seeks
                        Court Permission in an Abundance of Caution

          Service on a subsidiary of a foreign corporation is often permissible as an independent

  means of accomplishing service, if that subsidiary is an agent. See, e.g. CRT, 2008 WL 4104341

  (service of foreign defendant through domestic subsidiary and counsel); LDK Solar, 2008 WL

  2415186 (authorizing service on local subsidiary); Volkswagenwerk AG v. Schlunk, 486 U.S. 694,

  707-08 (1988) (Hague Convention need not be used to serve process on a foreign corporation when

  service can be made on a U.S. subsidiary with a sufficiently close relationship to overseas

  parent); Dewey v. Volkswagen AG, 558 F. Supp. 2d 505, 513-15 (D.N.J. 2008) (service upon

  Volkswagen of America (“VWoA”) was effective upon Volkswagen AG because agency

  relationship existed but service upon VWoA was not effective against Audi AG and Volkswagen

  De Mexico, S.A. de C.V. because neither of those entities had an agency relationship with

  VWoA); Lamb v. Volkswagenwerk AG, 104 F.R.D. 95, 97-101 (S.D. Fla. 1985) (control exercised



  4
    See also, e.g. Bank Julius Baer, 2008 WL 413737 at *2 (approving email service pursuant to
  Rule 4(f)(3)); Jenkins v. Pooke, 2009 WL 412987 (N.D. Cal. Feb. 17, 2009) (email service);
  Williams-Sonoma Inc. v. Friendfinder Inc., 2007 WL 1140639 (N.D. Cal. April 17, 2007) (email
  service permitted where foreign defendants refused to accept service).
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  by German parent corporation over wholly owned U.S. subsidiary was sufficient basis for finding

  that parent transacted business in Florida or that subsidiary acted as parent’s agent; objection of

  Federal Republic of Germany to direct mail service pursuant to Hague Service Convention

  inapplicable when service accomplished upon alter ego within United States); Zisman v. Sieger,

  106 F.R.D. 194, 199-200 (N.D. Ill. 1985) (service accomplished within United States on local

  agent of foreign defendant renders Hague Service Convention inapplicable).

         Florida’s long-arm statute likewise provides for service on a foreign corporation:

               (2) If a foreign corporation has a resident agent or officer in the state, process
               shall be served on the resident agent or officer.

               (3) Any person, firm, or corporation which sells, consigns, or leases by any
               means whatsoever tangible or intangible personal property, through brokers,
               jobbers, wholesalers, or distributors to any person, firm, or corporation in this
               state is conclusively presumed to be both engaged in substantial and not
               isolated activities within this state and operating, conducting, engaging in, or
               carrying on a business or business venture in this state.

  Fla. Stat. § 48.181. Further, sections 48.181(3) and 48.181(1) provide that if a nonresident

  defendant does business in the forum through “brokers, jobbers, wholesalers, or distributors,”

  service through such an entity is proper as service on an agent of process.” See Glen v. Club

  Mediterranee, S.A., 359 F. Supp. 2d 1352, 1356 (S.D. Fla. 2005) (finding plaintiffs failed to allege

  sufficient facts to show agency.). Fla. Stat. § 48.081 states in pertinent part:

               (1) Process against any private corporation, domestic or foreign, may be served:

                   (a) On the president or vice president, or head of the corporation;
                   (b) In the absence of any person described in paragraph (a), on the cashier,
                   treasurer, secretary, or general manager;
                   (c) In the absence of any person described in paragraph (a) or paragraph
                   (b), on any director; or
                   (d) In the absence of any person described in paragraph (a), paragraph (b),
                   or paragraph (c), on any officer or business agent residing in the state.




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                (2) If a foreign corporation has none of the foregoing officers or agents in this
                state, service may be made on any agent transacting business for it in this
                state.

   Id. (emphasis added). See also FRCP 4(e)(1) (service may be accomplished “following state law

   for serving a summons in an action brought in courts of general jurisdiction in the state where the

   district court is located or where service is made”). Thus, service on a subsidiary or local office

   need not be “alternative service” under FRCP 4(f)(3); rather, it qualifies as standard service of

   process under FRCP 4(e). Nonetheless, Plaintiff includes it as part of the Service Plan. See, e.g.

   LDK Solar, 2008 U.S. Dist. LEXIS 90702, at *3 (authorizing service of certain foreign defendants

   via service upon California office of corporation in which they served as officers pursuant to

   4(f)(3), notwithstanding that Hague Convention service had not yet been attempted).

          Based on the foregoing rules and authorities, Plaintiff seeks authorization to serve the

   following Norwegian Defendants through their domestic agents:

                      1. Mowi ASA (fka Marine Harvest ASA)

          Mowi is a Norwegian seafood company with operations in several countries around the

   world. Mowi has at least two-wholly owned subsidiaries in the United States, Marine Harvest

   USA in Florida and Ducktrap in Maine. Mowi’s website advertises that “Mowi USA is located in

   sunny Florida where salmon are flown in daily from Canada, Chile, Norway and other fish farms

   around the world.” See Tropin Decl., Ex. 1. Mowi’s website also provides a postal address in

   Medley, Florida. Id. News articles have described the Miami-based entity as the “US downstream

   division” of Mowi ASA.5 Tropin Decl., Ex. 2. Finally, Marine Harvest ASA recently changed its

   name to Mowi ASA. In lockstep, Marine Harvest USA, LLC filed a change of name to change its




   5
    https://www.undercurrentnews.com/2018/01/26/marine-harvest-to-more-than-double-miami-
   production-with-new-plant/, Tropin Decl. Ex. 2.
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   name to Mowi USA, LLC. Tropin Decl., Ex. 3. The Mowi website also lists three high-level

   employees as contacts in the United States:

       •   Robert Clark, Sales Director Consumer Products. Robert Clark’s Linkedin page lists him

           as the “Sales Directors, Consumer Products US at Marine Harvest Group.”

       •   Diana Dumet, Marketing Director.

       •   Greg Dumais, Sale Manager (Ducktrap). Ducktrap is another Mowi subsidiary based in

           Maine.

   Tropin Decl. at ¶¶ 4-9.

           Further, the 2018 Mowi Integrated Annual Report, hosted on its website, boasts of the

   extent of their Miami ties: “In March, Mowi moved its operations to a new plant twice the existing

   site.”6 Clearly, Mowi holds the Miami headquarters out as a part of Mowi ASA.

           Thus, Marine Harvest USA is a wholly-owned subsidiary of Mowi and a mere

   “downstream division” of Mowi, and when Mowi recently changed its name, Marine Harvest USA

   followed suit. Therefore, service on Mowi via Marine Harvest USA is constitutionally sufficient

   and permissible.

                      2. OQ

           OQ is a foreign corporation engaged in the salmon distribution business, with its

   headquarters in Bergen, Norway. Among the entities it operates through is OQ USA, a Delaware

   corporation headquartered in Dallas, Texas. That same Dallas office is listed as a “Sales Office”

   of OQ on its website, staffed by a General Manager, Dennis Bryant. See Tropin Decl., Ex. 4.

   Dennis Bryant is likewise the General Manager listed as the sales manager of OQ USA. Therefore,




   6
    Mowi 2018 Annual Report at p. 140 https://issuu.com/hg-
   9/docs/mowi_annual_report_2018_4e0dacb83168e4?e=19530043/68703955.
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   service upon Dennis Bryant in his capacity as General Manager of OQ and OQ USA is sufficient

   to serve OQ.

                      3. Grieg and Bremnes

          Service upon OQ at its Dallas sales office is also sufficient to accomplish service on Grieg

   and Bremnes, each of which are Norwegian companies, either by itself or as a component of the

   Service Plan. As noted on the front page of OQ’s website, “Ocean Quality is the sales organisation

   [sic] of Grieg Seafood and Bremnes Seashore.” See https://oceanquality.com/?pageID=28. Thus,

   OQ holds itself out as a subdivision and an agent of Grieg and Bremnes. Bremnes reciprocates,

   stating on its web page that OQ is “the sales organization of Grieg Seafood and Bremnes

   Seashore[.]” See Tropin Decl. Ex. 7. Grieg’s webpage likewise confirms on its “Sales” page that

   “Ocean Quality AS is the sales organisation of Grieg Seafood and Bremnes Seashore (60% owned

   by Grieg Seafood ASA and 40% owned by Bremnes Fryseri AS).” See Tropin Decl. Ex. 6. Grieg

   then lists contact information for OQ for those that wish to buy Grieg products. Id. Further, Grieg

   owns 60% of OQ and Bremnes owns 40% of OQ, demonstrating their effective control over OQ.

   See https://oceanquality.com/about-us/. Clearly, Grieg and Bremnes use OQ to sell and distribute

   its product around the globe, including in the United States.

          In sum, OQ is the business agent of both Bremnes and Grieg and it may properly receive

   service of the summons and complaint on behalf of both companies.

                      4. Leroy

          Leroy, while based in Norway, has a sales office in the United States. Leroy USA, a North

   Carolina corporation with its principal place of business in Chapel Hill, is a distribution subsidiary

   of Leroy which exists to distribute Leroy products in the United States and thus may properly

   receive service of the summons and complaint on behalf of Leroy. See Tropin Decl. Ex. 9.



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          IV.     Conclusion

          For the reasons set forth above, Plaintiff respectfully requests that the Court enter an Order

   authorizing alternative service of process on the six Norwegian Defendants pursuant to the two-

   part Service Plan.

                                                 Respectfully submitted,

                                                 By: /s/ Robert C. Gilbert
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                                                 Counsel for Plaintiff and the Proposed Class




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 7th day of May 2019, a true and correct copy of the foregoing

   was electronically filed with the Clerk of the Court by using the CM/ECF system, which will send

   a notice of electronic filing to all CM/ECF participants.



                                                        By: /s/ Robert C. Gilbert
                                                        Robert C. Gilbert, FBN 561861




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